46 F.3d 1126
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kevin Ray SCHRUBB, Sr., Petitioner--Appellant,v.Edward W. MURRAY, Director of the Virginia Department ofCorrections, Respondent -Appellee.
    No. 94-6517.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 4, 1994.Decided Jan. 17, 1995.
    
      Kevin Ray Schrubb, Sr., Appellant Pro Se.  Linwood Theodore Wells, Jr., Assistant Attorney General, Richmond, VA, for Appellee.
      Before WILKINSON, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Schrubb v. Murray, No. CA-93-929-2 (E.D. Va.  Apr. 21, 1994).  We deny Appellant's motion for oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    